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U.S. COURTS

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C STEPHEN WERE! ime.
LEAK, DISTRICT OF IDAHO

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

Plaintiff,
vs.

PAVEL BABICHENKO,
GENNADY BABITCHENKO,
PIOTR BABICHENKO,
TIMOFEY BABICHENKO,
KRISTINA BABICHENKO,
NATALYA BABICHENKO,
DAVID BIBIKOV,
ANNA TYERUSALIMETS,
MIKHAIL IYERUSALIMETS,
ARTUR PUPKO,

Defendants.

 

 

The Grand Jury charges that:

Case No. 1:18-cr-00258-BLW

SUPERSEDING INDICTMENT

18 U.S.C. § 2

18 U.S.C. § 981(a)(1)(C)

18 U.S.C. § 982(a)(1)

18 U.S.C. § 984

18 U.S.C. § 1341

18 U.S.C. § 1343

18 U.S.C. § 1349

18 U.S.C. § 1956(a)(1)(B)(i)
18 U.S.C. § 1956(a)(2)(B)(i)
18 U.S.C. § 1956(h)

18 U.S.C. § 2320(a)(1)

18 U.S.C. § 2320(a)(2)

18 U.S.C. § 2320(b)

18 U.S.C. § 2320(£)(1)

18 US.C. § 2323

- 21 U.S.C. § 853

28 U.S.C. § 2461(c)

 
Introductory Allegations
At all times relevant to this Superseding Indictment:
The Defendants and Their Entities
1. PAVEL BABICHENKO was a United States citizen and brother of PIOTR
BABICHENKO, TIMOFEY BABICHENKO, GENNADY BABITCHENKO, and ANNA
IYERUSALIMETS. He resided in Eagle, Idaho. During the counterfeit trafficking conspiracy,
PAVEL BABICHENKO owned and controlled the following entities, among others:
Babichenko LLC, Midstar Distributor LLC, Midstar LLC, Midway Distributors Inc., Midway
Distributor LLC, Midway Cellular LLC, Pacific Cellular Distributor LLC, Power Moxie LLC,
and Sahara Case LLC.
2. PIOTR BABICHENKO was a United States citizen and brother of PAVEL
BABICHENKO, TIMOFEY BABICHENKO, GENNADY BABITCHENKO, and ANNA
TYERUSALIMETS. He resided in Meridian, Idaho. During the counterfeit trafficking
conspiracy, PIOTR BABICHENKO owned and controlled the following entities, among others:
Blue Ocean Distribution LLC, Cases & More LLC, Midway Distributor LLC, Mobi LLC, Mobi
Recycle LLC, Mobile Recycle LLC, Mobi Recycling, Power Moxie LLC, and Sahara Case LLC.
3. TIMOFEY BABICHENKO was a United States citizen and brother of PAVEL
BABICHENKO, PIOTR BABICHENKO, GENNADY BABITCHENKO, and ANNA
ITYERUSALIMETS. He resided in Boise, Idaho. During the counterfeit trafficking conspiracy,
TIMOFEY BABICHENKO owned and controlled the following entities, among others:
Ariginall LLC, Global Distributing LLC, Global Distributors LLC, Sahara Case LLC, Wholesale

Gadgets LLC, and Wholesale Cell Phones LLC.

Superseding Indictment—2

 
4. GENNADY BABITCHENKO was a United States citizen and brother of PAVEL
BABICHENKO, PIOTR BABICHENKO, TIMOFEY BABICHENKO, and ANNA
IYERUSALIMETS. He resided in Boise, Idaho. During the counterfeit trafficking conspiracy,
GENNADY BABITCHENKO owned and controlled the following entities, among others:
Babichenko LLC, Babichenko Dental Lab Inc., Babichenko & Sons LLC, European Denture
Center, Morning Star Christian Church Inc., Russian Christian Church, and Morning Star
Mission Inc.

5. KRISTINA BABICHENKO was a United States citizen and married to TIMOFEY
BABICHENKO. She resided in Boise, Idaho. During the counterfeit trafficking conspiracy,
KRISTINA BABICHENKO owned and controlled the following entities, among others: Cell
Phone Geeks LLC, Global Distributors LLC, KayPop, and Wireless Closeouts LLC.

6. NATALYA BABICHENKO was a United States citizen and married to PAVEL
BABICHENKO. She resided in Boise, Idaho. During the counterfeit trafficking conspiracy,
NATALYA BABICHENKO owned and controlled the following entities, among others: Midstar
Distributor LLC, Midstar LLC, and Midway Distributor LLC.

7. ANNA TYERUSALIMETS (née Babitchenko) was-a United States citizen and sister of
PAVEL BABICHENKO, PIOTR BABICHENKO, GENNADY BABITCHENKO, and
TIMOFEY BABICHENKO. She was married to MIKHAIL TYERUSALIMETS and lived in
Meridian, Idaho. During the counterfeit trafficking conspiracy, ANNA IYERUSALIMETS
owned and controlled the following entities, among others: Droid Masterz LLC, Mountain
Wireless Distributing LLC, Peg-A-Phone LLC, and Western Trade LLC.

8. MIKHAIL IYERUSALIMETS was a United States citizen and married to ANNA

ITYERUSALIMETS. He lived in Meridian, Idaho. During the counterfeit trafficking conspiracy,
Superseding Indictment—3

 
MIKHAIL IYERUSALIMETS owned and controlled the following entities, among others: Cell
Zone LLC, Droid Masterz LLC, Electro Metro LLC, Mobile Rack LLC, Mountain Wireless
Distributing LLC, Peg-A-Phone LLC, Western Trade LLC, Simplified Selling LLC, and Vast
Trace LLC.
9. ARTUR PUPKO was a United States citizen who lives in Meridian, Idaho. During the
counterfeit trafficking conspiracy, ARTUR PUPKO owned and controlled the following entities,
among others: AlphaCell LLC, AnchorCell LLC, Cell2U4Less LLC, CellLife LLC, Cellularity
LLC, and Purecell LLC.
10. DAVID BIBIKOV was a United States citizen who lives in Meridian, Idaho. During the
counterfeit trafficking conspiracy, DAVID BIBIKOV owned and controlled the following
entities, among others: Bibs Electronics LLC, Case & More LLC, CellTalk LLC, Cell Function
LLC, Speedy Wireless LLC, and Tech4RLess LLC.

The Trademark Holder—Victims
11. Apple Incorporated (“Apple”) was a multinational corporation headquartered in
Cupertino, California, that designed, developed, and sold consumer electronic devices, computer
software, online services, and personal computers, including a tablet computer known as the
Apple iPad (“iPad”), a mobile telephone known as the Apple iPhone (“iPhone”), and a portable
digital music player known as the Apple iPod (“iPod”). Apple registered and owned trademarks
for the iPad, iPhone, iPod, iPhone chargers, iPhone batteries, among other items, on the principal
- register in the United States Patent and Trademark Office (“USPTO”), including the following
Registration Numbers: 2,715,578; 3,229,791; 3,679,056; 3,669,402; 3,928,818; 4,726,737; and

4,726,738.

Superseding Indictment—4

 
12. Samsung Electronics Co., Ltd., was a multinational electronics company headquartered in
Suwon, South Korea, that designed, developed, and sold consumer electronic devices, computer
software, online services, and personal computers, including a mobile telephone known as the
Samsung Galaxy S. Samsung registered trademarks for the Galaxy S, among other items, on the
principal register in the USPTO, including the following Registration Numbers: 1,164,353;
2,214,833; 2,882,774; 2,929,519; 2,929,523 5 3,673,234; 3,905,843; 4,020,438; 4,168,468;
4,188,122; 4,287,291; 4,582,755; 4,792,754; and 4,792,755.
COUNT ONE
Conspiracy to Commit Wire Fraud
18 U.S.C. §§ 1349, 1343
13. Paragraphs One through Twelve are incorporated herein.
The Conspiracy
14, Beginning in or about January 2008, and continuing through on or about August 14,
2018, the defendants PAVEL BABICHENKO, PIOTR BABICHENKO, TIMOFEY
BABICHENKO, GENNADY BABITCHENKO, NATALIE BABICHENKO, KRISTINA
BABICHENKO, ARTUR PUPKO, DAVID BIBIKOV, MIKHAIL [TYERUSALIMETS, and
ANNA TYERUSALIMETS (collectively ‘“Defendants”), along with others known and unknown -
to the Grand Jury, engaged in a scheme to defraud consumers by selling, on online platforms
such as Amazon.com and eBay, as well as their own websites, counterfeit electronic devices,
including counterfeit Apple and Samsung cell phones, that the defendants represented to be new
and genuine.
The Scheme to Defraud
15. Beginning on an unknown date, but by at least January 2008, and continuing through the

14th day of August, 2018, both dates being approximate and inclusive, the defendants PAVEL
Superseding Indictment—5

 
BABICHENKO, PIOTR BABICHENKO, TIMOFEY BABICHENKO, GENNADY
BABITCHENKO, NATALYA BABICHENKO, KRISTINA BABICHENKO, ARTUR PUPKO,
DAVID BIBIKOV, MIKHAIL ITYERUSALIMETS, and ANNA [TYERUSALIMETS, along with
others known and unknown to the Grand Jury, devised and intended to devise a scheme and
artifice for obtaining money by means of material false and fraudulent pretenses, representations,
and promises, to wit: to defraud consumers by purchasing counterfeit electronic devices,
including Apple and Samsung cell phones, to then resell as genuine and new on online platforms
such as Amazon and eBay, as well as their own websites.
16. The goal of the scheme was to enrich PAVEL BABICHENKO, PIOTR BABICHENKO,
TIMOFEY BABICHENKO, GENNADY BABITCHENKO, NATALYA BABICHENKO,
KRISTINA BABICHENKO, ARTUR PUPKO, DAVID BIBIKOV, MIKHAIL
TYERUSALIMETS, and ANNA TYERUSALIMETS, by selling devices bearing counterfeit
marks misrepresented as genuine and new.
Manner and Means
17. As part of the scheme and artifice to defraud, TIMOFEY BABICHENKO, KRISTINA
BABICHENKO, PIOTR BABICHENKO, ARTUR PUPKO, DAVID BIBIKOV, MIKHAIL
ITYERUSALIMETS, and ANNA TYERUSALIMETS misrepresented the quality and type of
electronic items for sale as genuine and new on online platforms, including Amazon and eBay.
18. | The means by which Defendants and others achieved and attempted to achieve the goal
of this scheme included, among others:
. (a) Smuggling counterfeit products in bulk from Hong Kong and China.
(b) Repackaging counterfeit devices to appear as new and genuine devices for

shipment to individual consumers.
Superseding Indictment—6

 
(c) Misrepresenting the genuineness, quality, and condition of the electronic devices
offered for sale on their online selling platforms.

19. Beginning on an unknown date, but by at least the 22nd day of January, 2008, and
continuing through the 14th day of August, 2018, both dates being approximate and inclusive,
within the District of Idaho and elsewhere, the defendants, PAVEL BABICHENKO, TIMOFEY
BABICHENKO, KRISTINA BABICHENKO, PIOTR BABICHENKO, ARTUR PUPKO,
DAVID BIBIKOV, MIKHAIL IYERUSALIMETS, and ANNA IYERUSALIMETS, knowingly
and willfully conspired with others, for the purpose of executing the aforesaid scheme and
artifice to obtain money or property by means of materially false and fraudulent pretenses,
representation and promises, and attempting to do so, to knowingly transmit and cause to be
transmitted in interstate commerce, by means of a wire communication, certain writings, signs,
signals, and pictures, to wit: photographs and descriptions of electronic devices bearing
counterfeit marks; communications with customers purchasing those devices; and payments for
those devices.

All in violation of Title 18, United States Code, Section 1349.

COUNTS TWO THROUGH TEN
Wire Fraud
18 U.S.C. § 1343
Executions of the Scheme to Defraud

20. Paragraphs One through Nineteen are incorporated herein.
21. That on or about the dates set forth below, for the purpose of executing, and attempting to
execute, part of the scheme and artifice, the defendants, TIMOFEY BABICHENKO, KRISTINA

BABICHENKO, PIOTR BABICHENKO, ARTUR PUPKO, DAVID BIBIKOV, MIKHAIL

TYERUSALIMETS, and ANNA IYERUSALIMETS, caused to be transmitted in interstate
Superseding Indictment—7

 
commerce, by means of a wire communication, certain writings, signs, signals, and pictures,

which caused the misrepresented item to be purchased.

 
      

Mikhail Iyerusalimets

 

3/7/2016

Advertised, sold, and caused purchase of
counterfeit Samsung charger listed as
“authentic” on Amazon.com

 

Anna Tyerusalimets
Mikhail Iyerusalimets

3/14/2016

Advertised, sold, and caused purchase of
counterfeit Apple iPhone and Samsung
charger listed as “new” on eBay.com

 

Kristina Babichenko
Timofey Babichenko

3/17/2016

Advertised, sold, and caused purchase of
counterfeit Samsung phone and battery
listed as “new” on eBay.com

 

Artur Pupko

10/24/2017

Advertised, sold, and caused purchase of
counterfeit Samsung battery listed as
“new” on Amazon.com

 

Timofey Babichenko

10/24/2017

Advertised, sold, and caused purchase of
counterfeit Apple iPhones listed as
“new” on Amazon.com

 

Artur Pupko

12/4/2017

Advertised, sold, and caused purchase of
counterfeit Apple iPhone listed as “new”
on Amazon.com

 

Artur Pupko

12/12/2017

Advertised, sold, and caused purchase of
counterfeit Samsung smartwatch listed as
“new” on Amazon.com

 

| David Bibikov

12/12/2017

Advertised, sold, and caused purchase of
counterfeit Apple iPhone listed as “new”
on Amazon.com

 

10

 

 

Piotr Babichenko

 

12/12/2017

 

Advertised, sold, and caused purchase of
counterfeit Samsung phone listed as
“new” on Amazon.com

 

All in violation of Title 18, United States Code, Section 1343.

Superseding Indictment—8

 

 
COUNTS ELEVEN THROUGH NINETEEN
Mail Fraud
18 U.S.C. § 1341
22. Paragraphs One through Nineteen are incorporated herein.
23. Beginning on an unknown date, but by at least the 22nd day of January, 2008, and
continuing through the 14th day of August, 2018, both dates being approximate and inclusive,
within the District of Idaho and elsewhere, the defendants, TIMOFEY BABICHENKO,
KRISTINA BABICHENKO, PIOTR BABICHENKO, ARTUR PUPKO, DAVID BIBIKOV,
MIKHAIL TYERUSALIMETS, and ANNA ITYERUSALIMETS, did knowingly devise and
intend to devise a scheme and artifice for obtaining money by means of material false and
fraudulent pretenses, representations, and promises.
24. That on or about the dates set forth below, for the purpose of executing, and attempting to
execute, part of the scheme and artifice, the defendants knowingly caused to be sent and

delivered by the United States Postal Service and interstate commercial carrier the following

matters and things.

 

 
   

 

 

 

 

 

 

 

 

 

 

 

 

11 | Mikhail Iyerusalimets | March 7, 2016 Mobile Rack Co. counterfeit
Samsung charger
_ 12 | Annalyerusalimets . | March 14, 2016 Tradewestern 2016 | counterfeit Apple
Mikhail Iyerusalimets iPhone and
Samsung charger
13 | Kristina Babichenko | March 17, 2016 KayPop counterfeit
Timofey Babichenko Samsung phone
! and battery
14 | Artur Pupko October 24, 2017 Purecell counterfeit
Samsung battery
15 | Timofey Babichenko | October 24, 2017 Ariginall . | counterfeit Apple
iPhone
16 | Artur Pupko December 4, 2017 | Cellularity counterfeit Apple
iPhone

 

 

 

- Superseding Indictment—9

 
 

17__| Artur Pupko December 12, 2017 | Cell2U4Less counterfeit
. Samsung
smartwatch

 

18 | David Bibikov December 12, 2017 | Bibby’s Electronics | counterfeit Apple
iPhone

 

19 | Piotr Babichenko December 12, 2017 | Remobile counterfeit
Samsung phone

 

 

 

 

 

 

 

All in violation of Title 18, United States Code, Section 1341.
COUNT TWENTY
Conspiracy to Traffic in Counterfeit Goods

18 U.S.C. § 2320(a), (b)(4), (HA)
25. Paragraphs One through Nineteen are incorporated herein.
26. Beginning on an unknown date, but by at least January 2008, and continuing through the
14th day of August, 2018, both dates being approximate and inclusive, within the District of
Idaho and elsewhere, the defendants, PAVEL BABICHENKO, PIOTR BABICHENKO,
TIMOFEY BABICHENKO, GENNADY BABITCHENKO, NATALYA BABICHENKO,
KRISTINA BABICHENKO, ARTUR PUPKO, DAVID BIBIKOV, MIKHAIL
ITYERUSALIMETS, and ANNA TYERUSALIMETS, and others known and unknown to the
grand jury, did intentionally conspire and agree with one another and other persons known and
unknown to the Grand Jury to traffic in counterfeit goods, to wit: by importing and offering for
sale counterfeit Apple iPhone, Apple iPhone chargers, Apple iPhone earbuds, Samsung S4
phones, Samsung S5 phones, Samsung $3 batteries, Samsung Note 4 batteries, Samsung S4
batteries, Samsung S5 batteries, Samsung chargers, labels, and packaging for the same, and
thereby knowingly using counterfeit marks, to wit: U.S. Trademark Registration 271 5,578; US.

Trademark Registration 3,229,791; U.S. Trademark Registration 3,679,056; U.S. Trademark

Registration 3,669,402; U.S. Trademark Registration 3,928,818; U.S. Trademark Registration

Superseding Indictment—10

 
4,726,737; U.S. Trademark Registration 4,726,738; U.S. Trademark Registration 1,164,353; U.S.
Trademark Registration 2,214,833; U.S. Trademark Registration 2,882,774; U.S. Trademark
Registration 2,929,519; U.S. Trademark Registration 2,929,523; U.S. Trademark Registration
3,673,234; U.S. Trademark Registration 3,905 843; US. Trademark Registration 4,020,438; U.S. .
Trademark Registration 4,168,468; U.S. Trademark Registration 4,188,122; U.S. Trademark
Registration 4,287,291; U.S. Trademark Registration 4,582,755; U.S. Trademark Registration
4,792,754; and U.S. Trademark Registration 4,792,755, on and in connection with such goods,
each counterfeit mark being identical with and substantially indistinguishable from a mark
registered for those devices on the principal register in the United States Patent and Trademark
office, and the use thereof was likely to deceive and to cause confusion and mistake, all in
violation of Title 18, United States Code, Section 2320(a), (b), (A(1).

COUNT TWENTY-ONE

Trafficking in Counterfeit Goods

18 U.S.C. § 2320(a), (b)(1)
27. On or about the 26th day of October, 2016, in the District of Idaho, the defendant,
PAVEL BABICHENKO, did intentionally traffic in goods, specifically Apple iPhone 4S and
Apple iPhone 6S, knowingly using a counterfeit mark, namely U.S. Trademark Registration
2,715,578, U.S. Trademark Registration 3,229,791, U.S. Trademark Registration 3,679,056, USS.

Trademark Registration 3,669,402, and U.S. Trademark Registration 3,928,818, on and in

connection with such goods, all in violation of 18 U.S.C. § 2320(a), (b).

Superseding Indictment—1 1:

 
COUNT TWENTY-TWO
Trafficking in Counterfeit Goods
18 U.S.C. § 2320(a), (b)(1)
28. On or about the 26th day of October, 2016, in the District of Idaho, the defendant,
PAVEL BABICHENKO, did intentionally traffic in goods, specifically Samsung S3 batteries;
Samsung Note 4 batteries; Samsung S4 batteries; Samsung S5 batteries; and Samsung phone
chargers, knowingly using a counterfeit mark, namely U.S. Trademark Registration 2,882,774,
U.S. Trademark Registration 2,929,519, U.S. Trademark Registration 2,929,523, U.S.
Trademark Registration 3,905,843, and U.S. Trademark Registration 4,792,754, on and in
connection with such goods, all in violation of Title 18, United States Code, Section 2320(a), (b).
COUNT TWENTY-THREE
Trafficking in Counterfeit Goods
18 U.S.C. § 2320(a), (b)(1)
29. On or about the 5th day of January, 2017, in the District of Idaho, the defendant, PAVEL
BABICHENKO, did intentionally traffic in goods, specifically Apple iPhone 5S, knowingly
using a counterfeit mark, U.S. Trademark Registration 2,715,578, U.S. Trademark Registration
3,229,791, U.S. Trademark Registration 3,679,056, U.S. Trademark Registration 3,669,402, and
U.S. Trademark Registration 3,928,818, on and in connection with such goods, all in violation of
Title 18, United States Code, Section 2320(a), (b).
COUNT TWENTY-FOUR
Trafficking in Counterfeit Goods
18 U.S.C. § 2320(a), (b)(1)
30. On or about the 24th day of October, 2017, in the District of Idaho, the defendant,
TIMOFEY BABICHENKO, did intentionally traffic in goods, specifically Apple iPhone 5S,

knowingly using a counterfeit mark, namely U.S. Trademark Registration 2,715,578, U.S.

Trademark Registration 3,229,791, U.S. Trademark Registration 3,669,402, U.S. Trademark
Superseding Indictment—12

 
Registration 3,679,056, and U.S. Trademark Registration 3,928,818, on and in connection with
such goods, all in violation of Title 18, United States Code, Section 2320(a), (b).

COUNT TWENTY-FIVE

Trafficking in Counterfeit Goods
18 U.S.C. § 2320(a), (b)(1)
18 U.S.C. §2
31. On or about the 14th day of March, 2016, in the District of Idaho, the defendants, ANNA .
ITYERUSALIMETS and MIKHAIL TYERUSALIMETS, did intentionally traffic in devices,
specifically Apple iPhone, Apple accessories, and Samsung charger, knowingly using a
counterfeit mark, namely U.S. Trademark Registration 2,715,578, U.S. Trademark Registration
3,229,791, U.S. Trademark Registration 3,679,056, U.S. Trademark Registration 3,669,402, and
U.S. Trademark Registration 3,928,818, US. Trademark Registration 2,882,774: US.
Trademark Registration 2,929,519, U.S. Trademark Registration 4,792,754, U.S. Trademark
Registration 2,929,523, U.S. Trademark Registration 2,214,833, and U.S. Trademark
Registration 4,792,755, on and in connection with such devices, all in violation of 18 US.C.
§ 2320(a), (b).
COUNT TWENTY-SIX
Trafficking in Counterfeit Goods

18 U.S.C. § 2320(a), (b)(1)
32. On or about the 7th day of March, 2016, in the District of Idaho, the defendant,
MIKHAIL ITYERUSALIMETS, did intentionally traffic in goods, specifically a Samsung
charger, knowingly using a counterfeit mark, namely U.S. Trademark Registration 2,214,833,

U.S. Trademark Registration 4,792,755, U.S. Trademark Registration 2,882,774, U.S.

Trademark Registration 2,929,519, U.S. Trademark Registration 2,929,523, U.S. Trademark

Superseding Indictment—13

 
Registration 4,792,754, and U.S. Trademark Registration 3,905,843, on and in connection with
such goods, all in violation of 18 U.S.C. §§ 2320(a), (b).
COUNT TWENTY-SEVEN
Trafficking in Counterfeit Goods
18 U.S.C. § 2320(a), (b)(1)
33. On or about the 12th day of December, 2017, in the District of Idaho, the defendant,
PIOTR BABICHENKO, did intentionally traffic in goods, specifically Samsung Galaxy S4
Phone, knowingly using a counterfeit mark, namely U.S. Trademark Registration 2,882,774,
U.S. Trademark Registration 2,929,523, U.S. Trademark Registration 2,929,519, U.S.
Trademark Registration 4,792,754, and U.S. Trademark Registration 3,905 843, on and in
connection with such goods, all in violation of Title 18, United States Code, Section 2320(a), (b).
COUNT TWENTY-EIGHT
Trafficking in Counterfeit Goods
18 U.S.C. § 2320(a), (b)(1)
34. On or about the 2nd day of December, 2016, in the District of Idaho, the defendant,
DAVID BIBIKOV, did intentionally traffic in goods, specifically Apple iPhone 5S and Apple
cellular telephone chargers, knowingly using a counterfeit mark, namely U.S. Trademark
Registration 2,715,578, U.S. Trademark Registration 3,229,791, U.S. Trademark Registration
3,679,056, U.S. Trademark Registration 3,669,402, and U.S. Trademark Registration 3,928,818,
on and in connection with such goods, all in violation of Title 18, United States Code, Section
2320(a), (b).
COUNT TWENTY-NINE
Trafficking in Counterfeit Goods
18 U.S.C. § 2320(a), (b)(1)
35, On or about the 12th day of December, 2017, in the District of Idaho, the defendant,

DAVID BIBIKOV, did intentionally traffic in goods, specifically Apple iPhone 5, knowingly
Superseding Indictment—14

 
using a counterfeit mark, namely U.S. Trademark Registration 2,715,578, U.S. Trademark
Registration 3,229,791, U.S. Trademark Registration 3,679,056, U.S. Trademark Registration
3,669,402, and USS. Trademark Registration 3,928,818, on and in connection with such goods,
all in violation of Title 18, United States Code, Section 2320(a), (b).
COUNT THIRTY
Trafficking in Counterfeit Goods
18 U.S.C. § 2320(a), (b)(1)
36. On or about the 17th day of March, 2016, in the District of Idaho, the defendant,
TIMOFEY BABICHENKO and KRISTINA BABICHENKO, did intentionally traffic in goods,
specifically Samsung battery and Samsung Galaxy S4 cellular phone, knowingly using a
counterfeit mark, namely U.S. Trademark Registration 2,882,774, U.S. Trademark Registration
2,929,519, U.S. Trademark Registration 4,792,754, U.S. Trademark Registration 3,905,843, and
U.S. Trademark Registration 2,929,523, on and in connection with such goods, all in violation of
Title 18, United States Code, Section 2320(a), (b).
COUNT THIRTY-ONE
Trafficking in Counterfeit Goods
18 U.S.C. § 2320(a), (b)(1)
37. On or about the 4th day of December, 2017, in the District of Idaho, the defendant,
ARTUR PUPKO, did intentionally traffic in goods, specifically Apple iPhone 5S, knowingly
using a counterfeit mark, namely US. Trademark Registration 2,7 15,578, U.S. Trademark
Registration 3,229,791, U.S. Trademark Registration 3,679,056, U.S. Trademark Registration

3,669,402, and U.S. Trademark Registration 3,928,818, on and in connection with such goods, .

all in violation of Title 18, United States Code, Section 2320(a), (b).

Superseding Indictment—15

 
COUNT THIRTY-TWO
Trafficking in Counterfeit Goods
18 U.S.C. § 2320(a), (b)(1)

38. On or about the 12th day of December, 2017, in the District of Idaho, the defendant,

ARTUR PUPKO, did intentionally traffic in goods, specifically Samsung Gear 2 Smartwatch,

knowingly using a counterfeit mark, namely U.S. Trademark Registration 2,214,833, U.S.

Trademark Registration 2,882,774, U.S. Trademark Registration 2,919,519, and U.S. Trademark

Registration 4,792,754, on and in connection with such goods, all in violation of Title 18, United

States Code, Section 2320(a), (b).

COUNT THIRTY-THREE
Trafficking in Counterfeit Goods
18 U.S.C. § 2320(a), (b)(1)

39, On or about the 24th day of October, 2017, in the District of Idaho, the defendant,
ARTUR PUPKO, did intentionally traffic in goods, specifically Samsung Galaxy S5 Phone and
Samsung battery knowingly using a counterfeit mark, namely U.S. Trademark Registration
2,882,774, U.S. Trademark Registration 2,929,523, and U.S. Trademark Registration 3,905,843,
on and in connection with such goods, all in violation of Title 18, United States Code, Section
2320(a), (b).

COUNT THIRTY-FOUR |
Trafficking in Counterfeit Devices
18 U.S.C. § 2320(a), (b)(1)

40. On or about the 15th day of January, 2018, in the District of Idaho, the defendant, PIOTR

BABICHENKO, did intentionally traffic in devices, specifically a Samsung charger, knowingly

using a counterfeit mark, namely U.S. Trademark Registration 2,882,774, U.S. Trademark

Registration 2,929,823, and U.S. Trademark Registration 3,905,843, on and in connection with

such devices, all in violation of Title 18, United States Code, Section 2320(a), (b)(1).
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COUNT THIRTY-FIVE
Conspiracy to Launder Money
18 U.S.C. § 1956(h)
41. Paragraphs One through Nineteen are incorporated herein.

‘42. Beginning on an unknown date, but by at least by the Ist day of J anuary, 2010, and
continuing through the 14th day of August, 2018, both dates being approximate and inclusive,
within the District of Idaho and elsewhere, the defendants, PAVEL BABICHENKO, PIOTR
BABICHENKO, TIMOFEY BABICHENKO, GENNADY BABITCHENKO, NATALYA |
BABICHENKO, KRISTINA BABICHENKO, ARTUR PUPKO, DAVID BIBIKOV, ANNA
IYERUSALIMETS, and MIKHAIL TYERUSALIMETS, together with others known and
unknown to the grand jury, did knowingly combine, conspire, confederate and agree to commit
certain offenses against the United States, in violation of Title 18, United States Code, Section
1956(h) as follows:

a. to conduct and attempt to conduct and aid and abet others to conduct financial
transactions, affecting interstate and foreign commerce, which involved the proceeds ofa
specified unlawful activity, that is violations of Title 18, United States Code, Sections 2320,
1341, 1343, and 1349, knowing that the transactions were designed in whole and in part to
conceal and disguise the nature, location, source, ownership, and control of the proceeds of said
specified unlawful activity and that while conducting and attempting to conduct such financial
transactions knew that the property involved in the financial transaction represented the proceeds
of some form of unlawful activity, in violation of Title 18, United States Code, Section
1956(a)(1)(B)G).

b. to transport, transmit, and transfer, and attempt to transport, transmit, and transfer,

monetary instruments and funds from places outside the United States to and through places in
Superseding Indictment—17

 
the United States and from places in the United States to and through places outside the United
States, knowing that the monetary instruments and funds involved represent the proceeds of
violations of Title 18, United States Code, Sections 2320, 1341, 1343, and 1349, and knowing
that such transportation, transmission or transfer is designed in whole or in part to conceal or
disguise the nature and source of the proceeds of the unlawful activity, in violation of Title 18,
United States Code, Section 1956(a)\(2)(B)(i).
All in violation of Title 18, United States Code, Section 1956(h).
COUNTS THIRTY-SIX THROUGH FIFTY-ONE
. Money Laundering
18 U.S.C. §§ 1956(a)(1)(B)@), 2

43.  Onor about the dates set forth below, each such date constituting a separate count of this
Superseding Indictment, in the District of Idaho and elsewhere, the Defendants identified below,
conducted and attempted to conduct and aid and abet others to conduct financial transactions,
affecting interstate and foreign commerce, which involved the proceeds of a specified unlawful
activity, that is violations of Title 18, United States Code, Sections 2320, 1341, 1343, and 1349,
knowing that the transactions were designed in whole and in part to conceal and disguise the
nature, location, source, ownership, and control of the proceeds of said specified unlawful
activity and that while conducting and attempting to conduct such financial transactions knew

that the property involved in the financial transaction represented the proceeds of some form of

unlawful activity, to wit:

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36 Pavel Babichenko

March 25, 2014

$105,000 check drawn on Midstar
LLC Mountain West-Glacier
Bank account number ending
2951, made payable to Global
Distributing LLC and deposited to
Chase Bank N.A. account number
ending 3706

 

37 Timofey Babichenko
Kristina Babichenko

April 4, 2014

$105,000 check drawn on Global
Distributing LLC JPMorgan
Chase Bank N.A. account number
ending 3706, made payable to
Gennady Babichenko, and
deposited to Mountain West Bank
account number ending 4486

 

38 Gennady Babitchenko

July 1, 2014

$100,000 wire transfer drawn on
Gennady Babitchenko and Igor
Babichenko Mountain West-
Glacier Bank account number
ending 4486, to Babichenko
Construcoes LTDA, Joao Pessoa

‘Brazil

 

39 Pavel Babichenko

August 6, 2014

$9,900 deposit in U.S. currency
into U.S. Bank account number
ending 0387; $7,000 Western
Union wire transfer to Brazil

 

40 Timofey Babichenko

January 22, 2015
January 23, 2015

$15,860 deposit in U.S. currency
into U.S. Bank account number
ending 0387; $4,000 Western
Union wire to Brazil

 

41 Kristina Babichenko
Timofey Babichenko

 

 

 

July 27, 2015

 

$30,000 wire transfer from Global
Distributors LLC JPMorgan
Chase N.A. account ending in
1299 to Timofey Babichenko and
Kristina Popudnik JPMorgan
Chase N.A. account ending 7046;
$30,000 wire transfer from
Timofey Babichenko and Kristina
Popudnik JPMorgan Chase N.A.
account ending 7046 to Cyro
Visalli Terceiro in Brazil

 

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42 Kristina Babichenko
Timofey Babichenko

June 23, 2016

$101,000 check drawn on Global
Distributors LLC Key Bank
account number ending 1970,
made payable to Gennady
Babichenko, and deposited to
Gennady Babitchenko and Igor
Babichenko Mountain West-
Glacier Bank account number
ending 4486

 

43 Gennady Babitchenko

July 13, 2016

$100,000 wire transfer drawn on
Gennady Babitchenko and Igor
Babichenko Mountain West-
Glacier Bank account number
ending 4486, to Babichenko
Construcoes LTDA, Joao Pessoa
Brazil

 

44 Natalya Babichenko
Pavel Babichenko

July 14, 2017

$36,000 check drawn on Midstar
Distributor LLC Mountain West
Bank account number ending
6620, made payable to European
Denture Center and deposited to
European Denture Center Zions
Bank account number ending
6243

 

$16,000 check drawn on Natalia
Babichenko Mountain West Bank

 

46 Gennady Babitchenko

April 11, 2014

45 Natalya Babichenko April 25, 2015 account number ending 9602,
Pavel Babichenko made payable to Gennady
Babichenko
$40,000 check drawn on European
Denture Center Zions Bank

account number ending 6243,
made payable to Petr Babichenko
and deposited to Cases & More
LLC Chase Bank N.A. account
number ending 5310

 

47 Piotr Babichenko

 

 

 

April 15, 2014

 

$40,000 wire transfer drawn on
Cases & More LLC Chase Bank
N.A. account number ending 5310
to Zaarn, LLC Chase Bank N.A.
account ending 6830; $62,500
check drawn on Zaarn, LLC
Chase Bank N.A. account ending
6830, payable to Camping World

 

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RV Sales

 

48

Anna lyerusalimets _

July 28, 2017

$10,000 check drawn on
Mountain Wireless Distributing
LLC Mountain West-Glacier
Bank account number ending
7872, made payable to Gennady
Babichenko and deposited to
European Denture Center Zions
Bank account number ending
6243

 

49.

Mikhail Iyerusalimets

‘December 22, 2014

$14,000 cashiers check to Global
Distributers, Remitter Cell Zone
LLC

 

50

Mikhail Iyerusalimets

December 29, 2014

$25,000 check drawn on
Mountain Wireless Distributing
LLC Mountain West Bank
account number ending 7872
made payable to Global
Distributors and deposited to
Global Distributors LLC Chase
Bank N.A. account number ending
1299

 

51

 

 

- Anna lyerusalimets
Mikhail Iyerusalimets

 

January 4, 2016

 

$65,000 wire transfer drawn on
Cell Zone LLC Mountain West-
Glacier Bank account ending 5144
to Mountain Wireless Distributing
LLC Mountain West-Glacier
Bank account number ending
7872; $55,000 check drawn on
Mountain Wireless Distributing
LLC Mountain West-Glacier
Bank account number ending
7872 payable to Midstar LLC and
deposited in Midstar Distributor
LLC Mountain West-Glacier
Bank account ending 6620;
$10,000 check drawn on
Mountain Wireless Distributing
LLC Mountain West Bank
account number ending 7872 to
Gennady Babichenko Mountain
West Bank account ending 4511

 

All in violation of 18 U.S.C. § 1956(a)(1)(B)(i) and 18 U.S.C. § 2.

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CRIMINAL FORFEITURE ALLEGATIONS

Trafficking in Counterfeit Goods
18 U.S.C. § 2323; 21 U.S.C. § 853; 28 U.S.C. § 2461(c)

Upon conviction of the offenses alleged in Counts Twenty through Thirty-Four of this
Superseding Indictment, the defendants, PAVEL BABICHENKO, GENNADY BABITCHENKO,
PIOTR BABICHENKO, TIMOFEY BABICHENKO, KRISTINA BABICHENKO, NATALYA
BABICHENKO, DAVID BIBIKOV, ANNA IYERUSALIMETS, MIKHAIL TYERUSALIMETS
_and ARTUR PUPKO, shall forfeit to the United States, pursuant to 18 U.S.C. § 2323, 21 U.S.C.

§ 853, and 28 U.S.C. § 2461(c), any prohibited article, any property, real and personal, tangible and
intangible, used or intended to be used, in any manner or part, to commit, or to facilitate the
commission of, the foregoing offenses, or which constitutes or is derived from proceeds obtained
directly or indirectly as a result of the offense. The property to be forfeited includes, but is not

limited to, the following:

1. Personal Property—Contraband and Vehicles.

a. All devices bearing counterfeit marks, including seized cell phones, wrappers, and
packaging, to include but not be limited to: approximately 60 Pallets
(approximately 4’ x 4’ x 5’) of seized contraband consisting of cell phones,
packaging and other related items;

b. 2010 Land Rover VIN: SALMP1E40AA307980, registered to Anna Babitchenko
and Mikhail [yerusalimets;

c. 2012 Jeep Wrangler VIN: 1C4BJWFG9CL221841, registered to Pavel
Babichenko;

d. 2012 Can-Am ATV VIN: 3JBLKPP1XC000446, registered to Mikhail
Iyerusalimets and Anna Iyerusalimets;

e. 2013 Entegra Aspire VIN: 4VZBU1D91DC076857, registered to Gennady
Babichenko;

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f. 2014 Cadillac ATS VIN: 1G6AASRA9E0185413, registered to Natalia
Babichenko;

g. 2015 Ford F150 VIN: 1FTFW1EFOFFB06787, registered to Timofey
Babichenko;

h. 2016 Lexus VIN: JTJHY7AX2G4189699, registered to Natalya Babichenko;

i. 2016 Harley Davidson VIN: 1HD1LF312GC443 986, registered to Timofey
Babichenko; and

je 2018 Ford F150 VIN: 1FTFW1EG6JFA62554, registered to AlphaCell LLC
(Pupko).

2. Miscellaneous Gold and Silver bars and Jewelry, including but not limited to,
the following:

 

2980 S. Pasa Tiempo Way | Silver bar, 100 oz
1908 $20 US Gold St. Gaudens NGC MS65 coin
1899 $20 US Gold Liberty NGC MS63 coin
1924 $20 US Gold St. Gaudens NGC MS65 coin
1900 $20 US Gold Liberty PCGS MS65 coin
1924 $20 US Gold St. Gaudens PCGS MS65 coin
1904 $20US Gold Liberty PCGS MS64
1999 $50 US Gold American Eagle 1 oz coin
1998 $50 US Gold American Eagle 1 oz coin
1996 $25 US Gold American Eagle % oz

 

5391 N. Lolo Pass Way 2015 $5 Canada Silver Maple Leaf 1 oz coins
Gold Degussa Combi Bar 50g (50 x 1 g)
1904 $20 US Gold Liberty NGC MS63 coin
1881 $1 US Silver Morgan NGC MS64 coin

1886 $1 US Silver Morgan NGC MS64 coin

 

 

 

1885 $1 US Silver Morgan NGC MS64 coin

 

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1884 $1 US Silver Morgan NGC MS64 coin

1904 $20 US Gold Liberty NGC MS63 coin

1924 $20 US Gold St. Gaudens PCGS MS64 coin
1924 $20 US Gold St. Gaudens PCGS MS65
1928 $20 US Gold St. Gaudens PCGS MS64 coin
2014 $5 US Gold American Eagle 1/10 oz coin

2015 $5 US Gold American Eagle 1/10 oz coin

 

 

12586 W. Bridger Drive 30 Assorted Diamond Rings and Men’s Rolex —
| Model 16013 watch

 

3. Seized currency in the approximate sum of $53,380.22 as follows:

 

 

 

 

 

 

 

 

 

2980 S. Pasa Tiempo Way $4,982.00
2911S. Pasa Tiempo Way $4,246.00
9799 W. Preece St. $10,900.00
2953 NW 8th Ave. $9,491.00
5391 N. Lolo Pass Way $16,866.22
7972 W. Orbit Dr. $3,785.00
12586 W. Bridger Drive $3,110.00

 

4. Unrecovered Cash Proceeds and/or Facilitating Property. The defendants named
above obtained and controlled unrecovered proceeds of the offense of conviction, or property
derived from or traceable to such proceeds, and property the defendants used to facilitate the

offense, but based upon actions of the defendants, the property was transferred, diminished,

comingled, or is otherwise unavailable. The defendants obtained and controlled at least

$10,000,000.00 in unrecovered forfeitable property.

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5. Real Property and Proceeds Thereof. The real property located at the following

addresses.

a. 9799 W. Preece, Boise, Ada County, Idaho, APN: R5199110330 (record owner:
Stanislav Babichenko (now deceased), Elizaveta Babichenko, and Pavel
Babichenko);

b. 2935 NW 8th Ave., Meridian, Ada County, Idaho, APN: R1619240470 (record
owner: Artur S. Pupko);

cc. 3080 N. Wildwood St., Boise, Ada County, Idaho, APN: R8904000635 (record
owner: Morning Star Christian Church, Inc./Morning Star Pentecostal Church,
Inc.);

d. 909 N. Cole Rd., Boise, Ada County, Idaho, APN: R4207000305 (record owner:
Babichenko LLC);

e. 0 W. Chinden Blvd., Meridian, Ada County, Idaho, APN: S0419336220 (record
owner: Babichenko LLC);

f. 2051 W. Three Lakes Ct., Meridian, Ada County, Idaho, APN: R8081750200
(record owner: Timofey Babichenko); and

g. 205 W. Logan St., Caldwell, Canyon County, Idaho, APN: 05771000 0 (record

_ owner: Gennady Babichenko).

6. Foreign Real Property. All lots and parcels of land, together with buildings,
appurtenances, improvements, fixtures, attachments and easements to include but not be limited
to, residential apartment buildings, five of which are related to companies associated with the

defendants and located in Brazil, in locations generally described as follows. PARATIBE

Superseding Indictment—25

 
(buildings named 171, II, IU, IV through V) and two in MANGABEIRA (buildings named VI

and VII), Brazil, and generally described as follows:

a.

BABICHENKO 171—Rua JULIETA CORDEIRO DE MEDEJROS, S/N
Paratibe, Joao Pessoa/PB;

BABICHENKO JI—Rua JULIETA CORDEIRO DE MEDEIROS, S/N Paratibe,
Joao Pessoa/PB;

BABICHENKO III—Rua JULIETA CORDEIRO DE MEDEIROS, S/N Paratibe,
Joao Pessoa/PB;

BABICHENKO IV—Rua JULIETA CORDEIRO DE MEDEIROS, S/N Paratibe,
Joao Pessoa/PB;

BABICHENKO V—containing 9 apartments, more or less, at the intersection of -
OSCAR LOPES and MANOEL VIEIRA GOMES streets in the PARATIBE

district;

BABICHENKO VI—facing RUA JANETE BELO DO SILVA in the
neighborhood of Mangabeira; and

BABICHENKO VII—facing RUA JOAO ROBERT DE LIMA in the
neighborhood of Mangabeira.

7. Bank Accounts. All funds received on behalf of or credited to accounts, including

bank accounts, investment accounts, management accounts, wherever held, in which any of the

defendants had or has an interest including, but not limited to, the approximate amounts seized

from the individual accounts listed below:

Mountain West Bank:

MidStar Distributor Mountain West Bank Account

Mountain West Bank Account No. XXXXKXXXX6620
Account holder(s): Pavel and Natalya Babichenko
Seized currency: approximately $396,321.39

Babichenko LLC

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Mountain West Bank Account XKXXXXXXX3168
Account holder(s): Pavel and Gennady Babichenko,
Seized currency: approximately $719.69

C. Power Moxie LLC

Mountain West Bank Account XXXXXXXX8410
Account holder(s): Timofey and Pavel Babichenko
Seized currency: approximately $9,501.03

d. Sahara Case LLC

Mountain West Bank Account XXXXXXXX8429
Account holder(s): Timofey, Natalya, and Pavel Babichenko

Seized currency: approximately $48,675.69,
$11,066.26 (CC #010684) and $7,766.92 (CC #033900)

e€. TrustTell LLC

Mountain West Bank Account XXXXXXXX0660
Account holder(s): Piotr Babichenko
Seized currency: approximately $5.00

f. Go Cell LLC

Mountain West Bank Account XXXXXXXX0679
Account holder(s): Piotr Babichenko
Seized currency: approximately $1,565.21

g. Rubiks Cube LLC

-Mountain West Bank Account XXXXXXXX3600
Account holder(s): Piotr Babichenko and Mikhail Iyerusalimets
Seized currency: approximately $302.37

h. Blue Ocean Distributing LLC

Mountain West Bank Account XXXXXXXX4046
Account holder(s): Piotr Babichenko
Seized currency: approximately $100.00

i. Boss Electronics LLC

Mountain West Bank Account XXXXXXXXX7081
Account holder(s): Timofey Babichenko
Seized currency: approximately $6,799.44

j. Smart Purchase LLC

Mountain West Bank Account XXXXXXXXX8347
Account holder(s): Timofey Babichenko
Seized currency: approximately $149,108.49

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k. Advantage Wireless LLC

Mountain West Bank Account XXXXXXXX2418
Account holder(s): Mikhail Iyerusalimets
Seized currency: approximately $38.52

1. Mountain Wireless Distributing LLC

Mountain West Bank Account XXXXXXXX7872
Account holder(s): Anna Iyerusalimets and Mikhail Iyerusalimets
Seized currency: approximately $8,255.79

m. Metropolitan Brothers LLC

Mountain West Bank Account XXXXXXXXX2636
Account holder(s): Vasiliy Iyerusalimets and Mikhail Iyerusalimets
Seized currency: approximately $6,969.54

n. Simplified Selling LLC
Mountain West Bank Account XXXXXXXXX6274
Account holder(s): Mikhail Iyerusalimets

Seized currency: approximately $31,480.14 and
$12,504.41 (CC #1010)

Oo. Zovna LLC

Mountain West Bank Account XXXXXXX2627
Account holder(s): Zoya Babichenko
Seized currency: approximately $4.90

Zions Bank: —

a. Morning Star Church
Zions Bank Account XXXXX7197
Account holder(s): Vasiliy Rudyi, Boris Goretoy, and Tim Babichenko
Seized currency: approximately $24,700.09

b. Morning Star Church

Zions Bank Account XXXXX7189

Account holder(s): Vasiliy Rudyi, Boris Goretoy, Stanislav Babichenko, and
Natalie Babichenko

Seized currency: approximately $266,798.73

Cc. Natalia Babichenko

Zions Bank Account XXXXX7644
Account holder(s): Gennady and Yaraslava Babichenko
Seized currency: approximately $103,309.97

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Chase Bank:

a. Alphacell LLC

Chase Account No. KXXXX7022
Account Holder(s): Arthur S. Pupko
Seized currency: approximately $9,647.26

b. Alphacell LLC

Chase Account No. XXXXXX0125
Account Holder(s): Arthur S. Pupko
Seized currency: approximately $30,577.19

c. Artur S. Pupko

Chase Account No. XXXXXX1850
Account Holder(s): Arthur S. Pupko

Seized currency: approximately $2,330.15 and $16. 74

d. Cellularity LLC

Chase Account No. XXXXX0117
Account Holder(s): Arthur S. Pupko
Seized currency: approximately $68.56

€. Cell2U4Less LLC

Chase Account No. XXXXX0962
Account Holder(s): Artur Sergeryevich Pupko

Seized currency: approximately $119,857.09 and $24,210.59

f. Arthur S. Pupko

Chase Account No. 5851
Account Holder(s): Arthur S. Pupko
Seized currency: approximately $53.73

g. FAST SHIPLLC

Chase Account No. 0016
Seized currency: approximately $3.20

- hy PURECELL LLC

Chase Account No. 9960
Seized currency: approximately $2,144.54

*

Washington Federal Bank:

a. Global Distributors LLC
’ WA Federal Account No. XXX-XXXX41-12

Account Holder(s): Kristina Babichenko, Timofey S. Babichenko

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Seized currency: approximately $82,704.31

b. Mountain Wireless Distributing LLC

WA Federal Account No. XXX-XXXX79-00
Account Holder(s): Mikhail M. Iyerusalimets
Seized currency: approximately $27,237.76

c. iTab LLC

WA Federal Account No. XXX-XXXX42-60
Account Holder(s): Timofey Babichenko
Seized currency: approximately $2,126.33

d. Arginall LLC

WA Federal Account No. XXX-XXXX42-52
Account Holder(s): Tim Babichenko
Seized currency: approximately $980.73

Icon Credit Union:

a. Xtrememobile LLC
ICON Member Account No. X5573
Account Holder(s): David V. Bibikov
Seized currency: approximately $122,611.65

b. Electro Metro LLC

ICON Member Account No. X7687
Account Holder(s): Mikhail Iyerusalimets
Seized currency: approximately $88.34

c. Speedy Wireless LLC

ICON Member Account No. X7324
Account Holder(s): David Bibikov
Seized currency: approximately $216,016.53 and $43,895.12

d. David V. Bibikov

ICON Member Account No. X4511
Account Holder(s): David Bibikov _
Seized currency: approximately $1,171.10 and $14,818.16

Wells Fargo Bank:

a. Kristina and Timofey Babichenko
Wells Fargo Account No. XXXXXX5152
Account Holder(s): Kristina and Timofey Babichenko

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Seized currency: approximately $120,583.37 and $181.96

b. Kristina and Timofey Babichenko
Wells Fargo Account No. KXXXXXX2293
Account Holder(s): Kristina and Timofey Babichenko
Seized currency: approximately $77,618.30

8. Amazon Accounts: ©

The approximate sum of $40,589.29 seized from Amazon Accounts on or about
December 12, 2018, from the following accounts:

Timbo/Silverback Cellular

Account holder(s): Tim and Kristina Babichenko
Account No. xxxxxx1190

Seized: Approximately $23.16

KayPop/Kristinia’s Store

Account holder(s): Kristina Popudnik
Account No. xxxxxx7441

Seized: Approximately $8.26

Purcell
Account No, xxxxxxx4315
Seized: Approximately $1,424.79 -

Cellular ITS LLC/Cellularity
Account No. xxxxxxx0305 -
Seized: Approximately $39,133.05

9. Business Property and Proceeds Thereof: All businesses and business property
involved in or obtaining proceeds of the charged allegations, including, but not limited to, the

following:

Babichenko Construction, Inc., aka Babichenko Construcoes, Inc.
Blue Ocean Distribution LLC

Alphacell LLC

Babichenko LLC

Cases and More, LLC

Cell2U4Less, LLC

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Cell Zone, LLC

European Denture Center
Global Distributing, LLC
Global Distributors, LLC
Midstar Construcoes, Inc.
Midstar Distributor LLC
Midstar LLC

Midway Distributors Inc.
Midway Distributor LLC
Midway Cellular LLC

Mobi LLC

Mobi Recycle LLC

Mobi Recycling

Mountain Wireless Distributing LLC
Pacific Cellular Distributor LLC
Power Moxie LLC

Sahara Case LLC

Zaarmn LLC

Money Laundering Forfeiture
18 U.S.C. §§ 981(a)(1)(C) and 982(a)(1) and 28 U.S.C. § 2461(c)

Upon conviction of the offenses alleged in Counts Thirty-Five through Fifty One of this
Superseding Indictment, the defendants, PAVEL BABICHENKO, GENNADY BABICHENKO,
PIOTR BABICHENKO, TIMOFEY BABICHENKO, KRISTINA BABICHENKO, NATALIE
BABICHENKO, DAVID BIBIKOV, ANNA IYERUSALIMETS, MIKHAIL
ITYERUSALIMETS and ARTUR PUPKO, shall forfeit to the United States, pursuant to 18
USS.C. §§ 981(a)(1)(C) and 982(a)(1) and 28 U.S.C. § 2461(c), any property, real and personal,
which constitutes or is derived from proceeds traceable to said violations, and any and all
property, real and personal, tangible and intangible, used or intended to be used, in any manner
or part, to commit, or to facilitate the commission of, the foregoing offenses, including the real
and personal property set out in the above criminal forfeiture allegation for Trafficking of

Counterfeit Goods or Services, which property is realleged and incorporated herein.

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Mail and Wire Fraud Forfeiture
18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)

Upon conviction of the offenses alleged in Counts One through Nineteen of this
Superseding Indictment, the defendants, PAVEL BABICHENKO, GENNADY
BABICHENKO, PIOTR BABICHENKO, TIMOFEY BABICHENKO, KRISTINA
BABICHENKO, NATALIE BABICHENKO, DAVID BIBIKOV, ANNA IYERUSALIMETS,
MIKHAIL TYERUSALIMETS and ARTUR PUPKO, shall forfeit to the United States any and
all property, real and personal, tangible and intangible, consisting or derived from any proceeds
the said defendants obtained directly or indirectly as a result of the scheme to defraud of which
the defendants are convicted, including the real and personal property set out in the above
criminal forfeiture allegation for Trafficking of Counterfeit Goods or Services, which property is
realleged and incorporated herein.

Fungible Property as to All Forfeiture Allegations

Pursuant to 18 U.S.C. § 984, the government will seek forfeiture of fungible property.

Substitute Assets as to All Forfeiture Allegations
Pursuant to 21 U.S.C. § 853(p) and other applicable statutes, the government will seek
forfeiture of substitute assets, “or any other property of the defendant” up to the value of the
defendant’s assets subject to forfeiture. The government will do so when the property subject to .

forfeiture cannot be forfeited for one or more of the following reasons:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or. deposited with, a third person;
c. Has been placed beyond the jurisdiction of the court;

d. Has been substantially diminished in value; or

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e. Has been commingled with other property which cannot be subdivided without

difficulty.

Dated this [4 th day of May, 2019.

A TRUE BILL

/s/ [signature on reverse]

 

Foreperson

BART M. DAVIS
United States Attorney

 

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